     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 1 of 11 Page ID #:240



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11
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12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                No. CR 19-117-JAK
14
               Plaintiff,                     GOVERNMENT’S RESPONSE IN
15                                            OPPOSITION TO DEFENDANT’S MOTION
                     v.                       FOR FISA MATERIAL
16
     ABDALLAH OSSEILY,                        Hearing Date: January 28, 2019
17                                            Hearing Time: 1:30 p.m.
               Defendant.                     Location:     Courtroom of the
18                                                          Hon. Kronstadt

19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Annamartine Salick
23   and Valerie Makarewicz, hereby files its Response to Defendant’s
24   Motion to Disclose FISA-Related Material.
25   //
26   ///
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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 2 of 11 Page ID #:241



1         This Response is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: December 19, 2019             Respectfully submitted,

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9                                               /s/
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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 3 of 11 Page ID #:242



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         In this fraud prosecution, defendant has moved for disclosure of

4    materials he believes were obtained pursuant to the Foreign

5    Intelligence Surveillance Act of 1978, 50 U.S.C. § 1801, et seq.

6    (“FISA”).   (Defendant’s Motion for Disclosure (“motion” or “Def’s

7    Mot.,” Dkt. 33.)    Defendant purports to need this information for

8    litigation, “including the filing of a suppression motion.”            (Def’s

9    Mot. at 2.)   In response, the government has reviewed the evidence

10   supporting the indictment in this case and the body of material that

11   will form the government’s proof at trial and has determined that

12   none of that evidence or proof was collected via orders issued under

13   FISA and that none of that evidence or proof is derived from any such

14   orders.

15        A defendant may only seek to disclose or suppress FISA

16   information upon the government’s notice that it intends to use

17   information obtained or derived from FISA against an aggrieved person

18   in a criminal case.     Here, the government has not provided defendant

19   notice of any intent to use FISA information against defendant and,

20   having determined that no FISA-obtained or derived material will be

21   used against defendant, will not be giving such notice.           Defendant

22   therefore lacks standing to seek disclosure or suppression of any

23   FISA materials as none have been or will he used as evidence against

24   him in this case.     As a result, defendant cannot meet his burden to

25   show a lawful basis for disclosure of any FISA material.            Nor can he

26   show that there is any FISA material to suppress.          Defendant’s motion

27   should be denied.

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 4 of 11 Page ID #:243



1    II.   STATEMENT OF FACTS
2          Defendant is charged in a four-count indictment with violations

3    of 18 U.S.C. § 1344(1) (Bank Fraud and Attempted Bank Fraud); 18

4    U.S.C. § 1425(a) (Attempted Unlawful Procurement of Naturalization);

5    and 18 U.S.C. § 1015(a) (False Statement in Immigration Proceedings).

6    On November 8, 2019, he filed his motion for disclosure of “FISA

7    materials” on four grounds:      (1) FISA’s statutory framework; (2) to

8    determine whether there is a basis for a Franks hearing; (3) because

9    defendant’s Fourth and Fifth Amendment rights entitle him to

10   disclosure; and (4) Federal Rules of Criminal Procedure 16(a)(1)B).

11   (Def’s Mot. at 2-10).      None of these grounds has merit here.

12   III. APPLICABLE LEGAL STANDARDS
13         A.   A Party May Seek to Suppress or Disclose FISA Information
                Only When the Government Provides Notice that FISA
14              Information Will be Used Against the Defendant
15         The government must provide notice to an individual when the

16   government “intends to enter into evidence or otherwise use or

17   disclose” any “information obtained or derived from” electronic

18   surveillance or physical search conducted pursuant to FISA against an

19   aggrieved person in a criminal case as well as in other proceedings.

20   50 U.S.C. §§ 1806(c), 1825(d), and 1881(e).         Specifically, the

21   government’s notice obligations only apply if the government:

22   (1) “intends to enter into evidence or otherwise use or disclose” (2)

23   “against an aggrieved person” (3) in a “trial, hearing or other

24   proceeding in or before any court, department, officer, agency,

25   regulatory body, or other authority of the United States” (4) any

26   “information obtained or derived from” (5) an “electronic

27   surveillance [or physical search] of that aggrieved person.”

28   50 U.S.C. §§ 1806(c), 1825(d), and 1881e(a).

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 5 of 11 Page ID #:244



1         The government’s notice obligations are only triggered when each

2    of the five criteria specified in 50 U.S.C. §§ 1806(c) and 1825(d)

3    are present.    The statute’s plain language makes clear that no notice

4    to a criminal defendant is required even where the government has

5    acquired information obtained or derived from FISA surveillance but

6    does not intend to “enter into evidence or otherwise use or disclose”

7    such information in the prosecution.        50 U.S.C. §§ 1806(c), 1825(d),

8    and 1881e(a).    Likewise, even if the government intends to use or

9    disclose information obtained or derived from FISA surveillance in a

10   criminal case, notice is not required if the defendant is not an

11   “aggrieved person” under the statute.

12        B.    Suppression Litigation is Reviewed Ex Parte and In Camera
                and Disclosure is the Exception
13

14        Unlike here, in cases where FISA information will be used

15   against a criminal defendant (thus rendering him an aggrieved

16   person), once FISA notice is provided, the defendant may then move to

17   suppress FISA-acquired or derived evidence on two grounds:            (1) that

18   “the information was unlawfully acquired”; and/or (2) that the

19   surveillance was “not made in conformity with an order of

20   authorization or approval.”      50 U.S.C. §§ 1806(e), 1825(f).        FISA

21   instructs district courts to inspect the government’s response to

22   such a motion ex parte and in camera in order determine whether the

23   FISA information was lawfully acquired and whether the surveillance

24   was made in conformity the order.       50 U.S.C. §§ 1806(f), 1825(g)

25   (“the district court shall, notwithstanding any other law . . .
26   review in camera and ex parte [the materials]”).

27        In cases involving the use of FISA material in a legal

28   proceeding such as a criminal trial, FISA’s statutory language is

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 6 of 11 Page ID #:245



1    unequivocal that disclosure of the material submitted to the Foreign

2    Intelligence Surveillance Court when applying for the order

3    authorizing FISA surveillance is the exception, not the rule.            Id.

4    (“the court may disclose to the aggrieved person, under appropriate

5    security procedures and protective orders, portions of the

6    application, order, or other materials . . . only where such
7    disclosure is necessary to make an accurate determination of the
8    legality . . .” of the FISA surveillance or search) (emphasis added).

9         Accordingly, courts have uniformly held that ex parte and in

10   camera inspection is the “rule” under FISA, and that disclosure or an

11   adversarial hearing are the “exception, occurring only when

12   necessary.”    United States v. Beltfield, 692 F.2d 141, 147 (D.C. Cir.

13   1982); see also United States v. Hamide, 914 F.2d 1147, 1152 (9th

14   Cir. 1990) (“Because of the national security interests involved, the

15   statute provides for in camera and ex parte review of the FISA

16   documents”).    Indeed, every court but one has found disclosure to be

17   unnecessary and the only district court to order disclosure was

18   overturned swiftly upon appeal.       See United States v. Daoud, 2014 WL

19   321384, at *3 (N.D. Ill. January 29, 2014), rev’d, 755 F.3d 479, 481-

20   85 (7th Cir. 2014).     Courts have agreed that the ex parte and in

21   camera review contemplated by FISA does not violate a defendant’s due

22   process rights.    See, e.g., United States v. Ott, 827 F.2d 473, 477

23   (9th Cir. 1987); see also, United States v. Abu-Jihaad, 630 F.3d 102,

24   117 (2d Cir. 2010); United States v. El-Mazain, 664 F.3d 467, 567

25   (5th Cir. 2011); United States v. Damrah, 412 F.3d 618, 624 (6th Cir.

26   2005).

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 7 of 11 Page ID #:246



1    IV.   ARGUMENT
2          A.   FISA’s Procedures are Unavailable Because No FISA
                Information Has Been or Will Be Introduced Against
3               Defendant
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5          Here, defendant does not qualify as a “person against whom

6    evidence obtained or derived from [FISA] is to be, or has been,

7    introduced or otherwise used or disclosed in any trial, hearing, or

8    other proceeding.”     See 50 U.S.C. §§ 1806(e)(f), 1825(f)-(g).         Thus,

9    by FISA’s plain language, defendant is not entitled to invoke FISA’s

10   procedures to seek disclosure of any FISA material.           Id.   Nor may he

11   invoke FISA’s procedures to move to suppress such material.            Id.

12   Even if he could, there is nothing to suppress under FISA.            Lastly,

13   and for the same reasons, FISA’s notice requirements do not apply.

14         B.   Disclosure is not Warranted under Franks
15         Defendant is not entitled to conduct a fishing expedition simply

16   because he presumes he was the subject of FISA surveillance.            In

17   cases where the government is not introducing information obtained or

18   derived from FISA, defendant has no basis to challenge, and the court

19   has no cause to review, any application for a FISA order.            Thus,

20   there is no basis for a Franks hearing pertaining to any such

21   application.

22         In a case where evidence obtained by a search warrant will be

23   offered as proof of guilt at trial, a defendant may seek to suppress

24   that evidence upon a showing that the warrant was not lawfully

25   issued.    A defendant may challenge the statements set forth in an

26   affidavit submitted to obtain the warrant if the affiant made a

27   material falsehood or misrepresentation in the warrant application.

28   To merit an evidentiary hearing on that issue, also known as a

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 8 of 11 Page ID #:247



1    “Franks hearing,” a defendant must first make a “concrete and

2    substantial preliminary showing” that an affiant deliberately or

3    recklessly included false statements, or failed to include material

4    information, in the affidavit, and that the resulting

5    misrepresentation was essential to the finding of probable cause.

6    Franks v. Delaware, 438 U.S. 154, 171 (1978); United States v.

7    Craighead, 539 F.3d 1073, 1080 (9th Cir. 2008).

8         But, again, a challenge to a search warrant is only proper if

9    evidence to be used against defendant was obtained from that warrant.

10   Then, and only then, is Franks litigation appropriate.           Here, there

11   is no lawful basis upon which defendant may seek or the court may

12   order a Franks hearing pertaining to any FISA application.            Although

13   FISA sets forth in camera and ex parte procedures to address FISA

14   suppression issues, 50 U.S.C. §§ 1806(f), 1825(g), those procedures

15   are inapposite where defendant cannot meet his burden to show that he

16   is entitled to move for disclosure or that there is any FISA-obtained

17   or derived material to suppress.

18        C.    Defendant has No Constitutional Claim to Any FISA Materials
19        Defendant argues that the Constitution entitles him to

20   disclosure of FISA materials here because “[d]ue process requires . .

21   . a meaningful opportunity to suppress the fruits of illegally

22   acquired evidence.” 1    (Def’s Mot. at 9)     This argument essentially

23   adds a constitutional gloss to the same basic premise underlying

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          1 Defendant also argues that “[d]ue process requires broad
26   disclosure under FISA.” (Def’s Mot. at 10.) That argument is
     internally incongruous as FISA specifically defines the materials
27   that may be disclosed and sets forth specific conditions that must be
     met to permit a court to authorize disclosure, none of which apply
28   here. In any event, defendant cites no authority for his argument
     and the government could find none.
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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 9 of 11 Page ID #:248



1    defendant’s motion, namely that he seeks information in order to

2    pursue a motion to suppress.       That basic premise fails for all the

3    reasons noted above and defendant’s constitutional argument fails for

4    the same reasons.     The remedy of suppression for violations Fourth

5    and Fifth Amendment rights only arises when the government seeks to

6    introduce evidence obtained in contradiction of those rights.            If the

7    government possesses voluminous evidence of guilt but elects not to

8    use some of that evidence against a defendant, there is no

9    constitutional or other basis to seek disclosure let alone

10   suppression of that evidence.

11        D.    Defendant is not Entitled to Disclosure of FISA Information
                Under Rule 16
12

13        The government has complied and will continue to comply with its

14   discovery obligations, including those set forth in Federal Rule of

15   Criminal Procedure 16.     Nothing in that rule warrants disclosure of

16   the materials defendant requests and his reliance on United States v.

17   Soto-Zuniga, 837 F.3d 992 (9th Cir. 2016), does not change that fact.

18   The defendant there was stopped at a checkpoint, where Border Patrol

19   agents discovered nearly 3 kilograms of methamphetamine in his car,

20   which the government sought to use against him in a prosecution for

21   narcotics trafficking.     837 F.3d at 994.      Soto-Zuniga asserted that

22   teenagers whom Soto-Zuniga had transported in his car at the request

23   of a known drug trafficker must have “planted” the drugs in his car.

24   Id. at 995.   To challenge the legality of the checkpoint as a means

25   for suppressing the methamphetamine found in his car, and to obtain

26   evidence that could help identify the teenagers, Soto-Zuniga moved

27   for disclosure of information relevant to the checkpoint’s

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 10 of 11 Page ID #:249



1    constitutionality and for information about the drug trafficker’s

2    operations.    Id.

3           The Ninth Circuit held that the district court erred in denying

4    the motions, as the checkpoint evidence would have facilitated a

5    proper assessment of the checkpoint’s constitutionality (and thus the

6    lawfulness of the stop leading to the discovery of the

7    methamphetamine) and the district court relied on the wrong standard

8    when denying the motion for records of the drug trafficker’s

9    operation based on its finding that the records “were not material to

10   the defense and were not discoverable because they were not

11   admissible.”    Id. at 998, 1002, 1003.

12          Defendant cites the portion of Soto-Zuniga pertaining to the

13   checkpoint evidence.      (See Def’s Mot. at 10 (citing pp. “1000-01” of

14   the opinion.))     As such, like defendant’s constitutional argument,

15   his Rule 16 argument appears to be yet another gloss on his basic

16   premise, namely that he seeks information to support a suppression

17   motion.    And again, his argument fails for the reasons detailed

18   above.    Whereas the methamphetamine in Soto-Zuniga was obtained via a

19   checkpoint that the defendant sought to challenge, the evidence of

20   defendant’s crimes here was not obtained or derived from FISA.

21          To the extent that defendant filed the instant motion as a

22   reaction to the government’s Notice of Intent to Invoke the

23   Classified Information Procedures Act (“CIPA”) (“Notice,” Dkt. 32),

24   defendant’s motion is misplaced.        Moreover, as detailed in the

25   Notice, and as the Court is aware, CIPA sets forth procedures for

26   handling classified information, including proceedings under CIPA

27   § 4.    The Notice makes clear that the government does not anticipate

28   a need to disclose classified information in this case.            (Notice at

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     Case 8:19-cr-00117-JAK Document 53 Filed 12/19/19 Page 11 of 11 Page ID #:250



1    2.)   That remains the case.      Nonetheless, the government has signaled

2    that it anticipates raising issues pertaining to classified

3    information in the form of a CIPA § 4 motion, which the Court has

4    ordered filed by January 3, 2020.

5    V.    CONCLUSION
6          For the foregoing reasons, defendant’s motion should be denied.

7     Dated: December 19, 2019             Respectfully submitted,

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